                   Case 3:20-cv-02450-VC Document 18 Filed 04/27/20 Page 1 of 6
                                                                                                    Î»-»¬ Ú±®³

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                    )
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                                                      )   Case No: _______________
 4                                                    )
                                      Plaintiff(s),   )   APPLICATION FOR
 5                                                    )   ADMISSION OF ATTORNEY
              v.
                                                      )   PRO HAC VICE
 6   ØÐ ×ÒÝò                                          )   (CIVIL LOCAL RULE 11-3)
                                                      )
 7                                                    )
                                      Defendant(s).
                                                      )
 8
         I,    Bonner Charles Walsh               , an active member in good standing of the bar of
 9    ÌÈô ÑÎô Éßô ¿²¼ ×Ü           , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Ð´¿·²¬·ºº-                                   in the
                                                                Þ»²¶¿³·² Ø»·µ¿´·
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      ïëêï Ô±²¹ Ø¿«´ Î±¿¼                                  ïðèêê É·´-¸·®» Þ±«´»ª¿®¼ô Í«·¬» ïìéð
14    Ù®¿²¹»ª·´´»ô ×Ü                                      Ô±- ß²¹»´»-ô Ýß çððîì
       MY TELEPHONE # OF RECORD:                            LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    øëìï÷ íëçóîèîé                                       øìîì÷ îëêóîèèì
       MY EMAIL ADDRESS OF RECORD:                          LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    ¾±²²»®à©¿´-¸°´´½ò½±³                                 ¾¸»·µ¿´·àº¿®«¯·´¿©ò½±³
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: ø-»» ¿¬¬¿½¸»¼÷ .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: ðìñîéñîð
22                                                                                APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Bonner Charles Walsh                       is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                            UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                   October 2012
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                          Exhibit A
                     State Bar Numbers

                  Texas         24051766
                  Oregon        131716
                  Washington    48915
                  Idaho         9646
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                              The Supreme Court of Texas
                                                         AUSTIN
                                                   CLERK'S OFFICE




            I, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
    records of this office show that

                                              Bonner Charles Walsh

    was duly admitted and licensed as an attorney and counselor at law by the Supreme

    Court of Texas on the 2nd day of November, 2007.

            I further certify that the records of this office show that, as of this date



                                              Bonner Charles Walsh



    is presently enrolled with the State Bar of Texas as an active member in good standing.


                                                    IN TESTIMONY WHEREOF witness my signature

                                                                   and the seal of the Supreme Court of

                                                                   Texas at the City of Austin, this, the

                                                                   21th day of April, 2020.

                                                                   BLAKE HAWTHORNE, Clerk



                                                                   Clerk, Supreme Court of Texas
    No. 7614C.1




This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
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                                                                               Oregon State Bar


                    Certificate of Good Standing

State of Oregon
                             )   ss.
County of Washington


       I, Stacy R. Owen, do hereby certify that I am an Assistant Disciplinary Counsel of the
Oregon State Bar, and have access to the official files and records of the Oregon State Bar.


       The official files and records of the Oregon State Bar indicate:


                                         BONN ER CHARLES WALSH


was admitted to practice law in the State of Oregon by reciprocity and became an active member
of the Oregon State Bar on May 23, 2013.


       There are no grievances or disciplinary proceedings presently pending against this
member.


       No disciplinary action has been taken against this member in the past by the Oregon
Supreme Court or the Oregon Disciplinary Board.


       Mr. Walsh is an active member of the Oregon State Bar in good standing, licensed and
entitled to practice law in all the courts of the State of Oregon.


       DATED this 22 nd day of April, 2020.



                                                                     0



                                                    Stacy R. Owen
                                                    Assistant Disciplinary Counsel
                                                    Oregon State Bar




       16037   SW Upper Boones Ferry Road, PO Box 231935, Tigard, Oregon 97281-1935
      (503) 620-0222 or (800) 452-8260     Regulatory Services fax (503) 968-4457     www.osbanorg
                  Case 3:20-cv-02450-VC Document 18 Filed 04/27/20 Page 5 of 6




                            Cour                                         tat of

                   Certificate of iioob                                 tembing

Clerk's Office
                      ss.
Supreme Court

      I, Karel A. Lehrman, Clerk of the Supreme Court of the State of Idaho, do hereby certify that

BONNER CHARLES WALSH on the 25th day of March, 2015, was admitted to practice by said Court

as an attorney counselor at law in all the courts of this state, and that he ever since and now is an

attorney in good standing at the Bar of this Court.

      IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the Court at

Boise, Idaho, this 5th day of August, 2019.




                                                      Clerk of the Supreme Court
         Case 3:20-cv-02450-VC Document 18 Filed 04/27/20 Page 6 of 6




IN THE SUPREME COURT OF THE STATE OF WASHINGTON


      IN THE MATTER OF THE ADMISSION                                            BAR NO. 48915

                          OF                                                    CERTIFICATE

            BONNER CHARLES WALSH                                                         OF

TO PRACTICE IN THE COURTS OF THIS STATE                                       GOOD STANDING




       I, Susan L. Carlson, Clerk of the Supreme Court of the State of Washington, hereby certify


                                  BONNER CHARLES WALSH

was regularly admitted to practice as an Attorney and Counselor at Law in the Supreme Court and

all the Courts of the State of Washington on March 19, 2015, and is now and has continuously

since that date been an attorney in good standing, and has a current status of active.



                                                 IN TESTIMONY WHEREOF, I have
                                                 hereunto set my hand and affixed
                                                 the seal of said Court this 20th day of
                                                 April, 2020.

                                                         tvam.--(c-X
                                                 Susan L. Carlson
                                                 Supreme Court Clerk
                                                 Washington State Supreme Court
